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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


DEBORAH D. PETERSON,
Personal Representative
Of The Estate Of
James C. Knipple (Deceased), et al.
                    Plaintiffs




              v.                                           Civil Action#1:01CV02094(RCL)



THE ISLAMIC REPUBLIC OF IRAN, et al.
               Defendants



                           REPORT OF SPECIAL MASTER
                        PURSUANT TO ORDER OF REFERENCE
                   CONCERNING COUNTS CDLXIX THROUGH CDLXXII

                              DONALD ELBERAN WOOLLETT
                                     1st LT. USMC


       In accordance with the Order of Reference entered pursuant to the provisions of Federal

Rule 53, the Special Master has received evidence with regard to all issues of compensatory

damages from witnesses as below set forth. This is an action for wrongful death resulting from an

act of state-sponsored terrorism. The following findings of fact are based upon the sworn testimony

and documents entered into evidence in accordance with the Federal Rules of Evidence and have

been established by clear and convincing evidence.
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                                       FINDINGS OF FACT

               (1) Donald Elberan Woollett was born on February 23, 1958 in the United States of

America and was at birth and remained until his death, a citizen of the United States. Mr. Woollett

graduated from the United States Navel Academy in 1980 and on October 23, 1983 he held the

rank of First Lieutenant in the United States Marine Corps was a member of the 24th MAU, First

Battalion, 8th Regiment.

       (2) On October 23, 1983, the building housing the Marine Battalion at Beirut was attacked

by a suicide bomber operating a truck which penetrated to the center of the building where the

operator detonated a large explosive charge completely collapsing the building resulting in the

deaths of 241 American Service personnel, including this decedent.

       (3) As a result of the explosion, decedent, Donald E. Woollett, suffered severe injuries,

which resulted in his death.

       (4) The official service death certificate, admitted as an official record, indicated that the

death of the decedent was due to a terrorist attack at Beirut, Lebanon on October 23, 1983.

       (5) The records available and the testimony of witnesses indicate that prior to death, there is

no evidence from which the Special Master can make any finding that the decedent suffered bodily

pain or suffering as a result of his injuries and death appears to have been instantaneous.

       (6) As a result of the death of Donald E. Woollett, his estate suffered a loss of accretions to

the estate which could have been expected to occur during the course of his anticipated life. These

losses are the subject of a report under oath from Dr. Jerome Paige and are supported by Dr.

Paige’s testimony given by videotape. They have been reduced by Dr. Paige to present value in




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accordance with District of Columbia v. Barriteau, 399 A.2d 563 (D.C. App. 1979). Based upon the

foregoing, the amount of loss to the estate is in the amount of $2,021,565.00.

       (7) As the result of the death of Donald E. Woollett, his father, mother, and his surviving

siblings have suffered and will continue to suffer severe mental anguish and the loss of society. The

testimony established that his father, mother, and siblings have never recovered from the shock and

suffered severe emotional trauma from Donald Woollett’s death in Beirut. They are participants in

various memorial programs for the victims of October 23, 1983 and are vigorous supporters of

those programs.

       1st LT. DONALD ELBERAN WOOLLETT (Deceased), was born on February 23, 1958.

He was the oldest of Paul R. Woollett and Beverly K. Woollett’s three children and their only son.

The testimony of Donald Woollett’s survivors evidences an extraordinary loving and caring

Woollett family unit.

       The testimony outlines that the entire Woollett family was involved in Donald Woollett’s

scouting experience, his mother served as a Cub Scout leader and his father and both sisters were

actively involved in both his Cub Scout and Boy Scout projects. The family was also in agreement

that Donald Woollett gave 100% effort to every project he undertook. Donald Woollett earned the

rank of Eagle Scout for his scouting efforts.

       His sister Lydia testified that her brother was not a great athlete but he was a great team

member and served as an example. Donald Woollett was a member of the wrestling team, Spanish

club and chess club and graduated valedictorian of his class. His survivors all testified that he was

an avid reader throughout his life and had a keen interest in history especially military history and

battles. After high school, he won an appointment to the United States Naval Academy and

graduated in 1980. Donald Woollett’s mother and sister Lyda testified that he had confided to them




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that he wanted to go to law school, learn new languages, and go into diplomatic service. Paul

Woollett thought his son could be President. Donald Woollett’s mother and sisters testified that he

admired Jacques-Yves Cousteau the French ecologist, conservationist and oceanographer. Donald

Woollett watched Cousteau’s TV shows and developed a love of the sea.

       Donald Woollett attended his sisters wedding in 1982 and was home for Christmas in 1982.

On that last meeting with his family and his last Christmas, Donald Woollett introduced his family

to Kimberly Kahler, his girlfriend and fiancé. Donald Woollett was expected to return home to

celebrate Christmas 1983, when his wedding plans would have been announced.

       In October 1983 Kimberly Kahler was living with Donald Woollett’s parents while she

attended college to study church music.        Donald Woollett’s fiancé was living with Donald

Woollett’s parents when they learned of the bombing, received the notification of his death, and

during the memorial service and funeral. Kimberly Kahler dealt with the death of Donald Woollett

in her own private way, she continued to live with Donald Woollett’s parents after the funeral, and

began dating again, while living with them. These facts contributed to the agony of Beverly

Woollett, but Kimberly Kahler and Beverly Woollett remain friends.

       Donald Elberan Woollett was killed at age 25 and was buried on the 208th anniversary of the

founding of the United States Marine Corps.



       PAUL ROBERT WOOLLETT is the father of Donald E. Woollett (Deceased) and he is

retired. He raised his family in Ohio and was employed by an oil company and his employment

required frequent travel. Paul Woollett explained that his son, Donald graduated from High School

in Ohio and was the Valedictorian of his class. Paul Woollett testified that he had a wonderful

relationship with his son, and he testified that his son honored, respected, and was kind to every




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member of the family. Paul Woollett enjoyed his children. Paul Woollett recalls going to his son’s

little league baseball games, ice-skating as a family on Sundays after church, sledding and

tobogganing, and he recalls that every Saturday the children were “his” and he would take them on

trips to town and every other Saturday they would accompany him to the bank in town to deposit

his checks. The Woollett family went to church together and the entire Woollett family followed

the career of their son and kept informed of his travels to Africa and Beirut. Donald Woollett wrote

his parents often and Paul Woollett remembers the tone of the letters as upbeat. Beverly Woollett

has safeguarded those letters and most of her son’s toys, collections and memorabilia. Paul

Woollett testified that he and his son took scuba classes and became certified together; Paul

Woollett testified that he has never scuba dived since his son’s death. Paul Woollett was in the Air

Force Reserve and he fondly recalls Donald Woollett accompanying him to drills and noting that

from a young age his son enjoyed working as a member of a team.

        Donald Woollett was a very well liked man. He knew something about everything and

could carry on a conversation with anyone concerning a subject they were interested in discussing.

He was well read and loved books. He did not mind being at sea for months on end because he

would take a box of books and read.

        Paul Woollett was familiar with the situation in Beirut, Lebanon. It was similar to the time

when President Eisenhower sent troops to Beirut. Paul remembers when his son was sent to Beirut

he did not feel it was that hazardous at the time. His son loved the comradery of the military.

Donald thought the Marines were in Beirut for a good purpose and that they were doing the right

thing. He thought things were going right although he expressed some concerns about the troops

that were guarding the perimeter. Beverly Woollett was more concerned than Paul with the

situation in Beirut.




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         Paul Woollett learned of the bombing from radio news reports. The Woollett family knew

their son was in Beirut and they had a basic knowledge of Lebanon. The Woollett family did not

know how critical the situation was in Beirut. After the news of the bombing, Paul Woollett tried

to go back to work but he was unable to concentrate and stayed home for days waiting for news. On

October 25th, just prior to midnight, there was a knock on the door and Marines from Broken Arrow

Marine Base, in Oklahoma, advised Paul Woollett, Beverly Woollett and Kimberly Kahler of his

death. Paul and Beverly Woollett drove to where their daughters were in college to tell them of

their brother's death because they felt they could not tell them over the telephone. There were two

services, a memorial service for their son in Oklahoma and formal burial at Arlington National

Cemetery. The memorial service was packed with people that the Woollett family never met. The

oil company furnished the Woollett family’s transportation on a private jet to the funeral service in

Washington, DC.

       Donald Elberan Woollett directed that if anything happened to him, he wanted to be buried

in Arlington National Cemetery so that the officers in the Pentagon would be forced to look at the

cemetery and the results of their decisions.

       This was Paul Woollett’s only son and he testified his son had “all kinds of potential”. The

affect of the loss of his son has been enormous. He could not ever conceive of one of his children

dying before him. He has lost the opportunity to share all the normal life events with his son. Paul

explains how he has stopped doing many things that he used to do with his son because he cannot

imagine doing those things alone without his son. The family received a letter from a man that met

their son on one occasion. Lyda Woollett Guz testified that her father confided in her that he didn’t

know how to help his wife who suffered from depression since her son’s death. He testified that he

began a running program and that was his way of coping. Paul Woollett logged many miles trying




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to cope with the grief of the loss of his son. The Woollett family has maintained numerous articles

from the local papers regarding the death of their son and even an article describing the Marine

Corps marathon that Paul Woollett and the Kahler family ran to honor Donald Woollett.

       The Woollett family has participated in various memorial groups and the 20th anniversary

memorial in North Carolina. They are still in contact with some survivors of the Beirut bombing.

The Marine that escorted Donald’s casket to the United States, Mr. Bartowshi, still writes letters to

the Woollett family.

       If Paul Woollett could speak to the Iranian leaders he would request some answers: What

did they expect? What do they want? Why?

       BEVERLY WOOLLETT is the mother of Donald Elberan Woollett (Deceased). Beverly

Woollett testified she had a beautiful relationship with her son; he was a wonderful son to her and a

wonderful brother to his sisters. Beverly Woollett further testified that her son brought

entertainment to the family and she couldn’t imagine her family without her son. Beverly Woollett

noted the travel requirements of her husband and she considered her son as a caregiver who, in a

very real sense, shepherded his sisters and watched out for his mother. There was no sibling rivalry

between her children, they had a beautiful relationship. Beverly Woollett remembers Donald as

letting his sister Lilla follow him and his friends, Donald included his little sister. Donald would

encourage his sisters; he was a wonderful brother and a wonderful son. In high school Donald was

the president of the chess team, he was in the Spanish club, he wrestled, he was the 98 pound

weakling and all the jocks took a shinning to him, he played tennis. Beverly Woollett testified that

his high school history teacher taught Russian History to her son’s high school class because her

son asked for it, he was a history buff. Donald loved people and he loved different cultures. He




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was an avid learning. Donald was enthusiastic and the kind of person that people had fun being

around.

       Beverly Woollett testified that she was not happy when her son chose the Marine Corps and

Paul Woollett testified that his wife was concerned about his deployment to Beirut and wanted him

back. Donald shipped out to Lebanon on his sister Lilla’s birthday and that was hard for the family.

Beverly Woollett testified how her son grieved over the children of Beirut and how they were

acting like warriors, he didn’t think they knew how to play. Donald was concerned about the

situation in Lebanon. Donald’s Marine group was called into Lebanon as peacekeepers. They

were trying to preserve life in Beirut and they did not go in as aggressors. She testified that her son

loved everybody and how one of the interpreters assigned to the Marines in Beirut invited her son

to his sister’s birthday party in Beirut. Lyda Woollett Guz testified that her mother wrote Donald

Woollett every day and wanted to make sure he didn’t miss any family news. Beverly Woollett has

saved all of Donald’s letters.

       The Woolletts were always in touch with their children and they kept their daughters

informed about what was going on with Donald in Beirut. Donald called from the American

University in Beirut. When the bombing happened Donald was the embarkation officer. They had

loaded all the ships and he was two weeks from coming home when the bombing occurred. He

wrote about coming home for Christmas and what he planned to get his sisters for Christmas

       After his graduation from Annapolis, Donald Woollett’s graduation company, Company 19,

wanted to prepare a newsletter so that classmates could keep in touch with each other. Beverly

Woollett published the newsletter for them known as Cloud 19 News. She received continuous

communications from her son’s classmates and reported marriages, birth of children and

assignments to his classmates in the newsletter.     His classmates really grieved over the death of




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Donald. For about one year after October 23, 1983, Beverly Woollett continued to publish the

newsletter but the grief of the loss of her only son forced her to turn over the assignment to another

of Donald Woollett’s classmates.       She could no longer do it; the grief of her loss was

overwhelming. His classmates started getting married and having babies and that was too hard for

her to handle.

       Lyda Woollett Guz testified that her mother told her she had nightmares days before

October 23, 1983. Beverly Woollett testified that her husband woke her early on October 23rd and

told her the HQ building in Beirut was bombed. They turned on the radio. When Paul told Beverly

about the bombing she sat up in bed and recalls the look on Paul’s face was pitiful. Beverly

Woollett recalls sitting on the sofa and checking the news, every 15 minutes, hoping he wasn’t in

the building. When the Marines came to the door and told the Paul and Beverly Woollett that their

son had been killed Paul Woollett had to put his head between his knees because he was passing

out. Beverly Woollett testified, “the lights in her world went out.” It was so stark without her son.

She cannot even imagine the family without their son. The excitement that Donald brought into the

home made it so desolate when he was gone. It was no fun anymore. The holidays were grim. If it

had not been for Lilla’s girl, Elizabeth, the family would have cancelled the holidays. Beverly did

some volunteer work for a short time that helped her to get her feet back on the ground. Beverly

Woollett testified that it was 10 years before the Woollett family was able to form a new family

structure. Donald was the leader of their family. Her husband Paul was so hurt because it is hard

work to raise a good son. Paul had named Donald after his father that had died when he was 16

years old. Paul had all sorts of thing to pass on to Donald that belonged to his grandfather. He had

been in the Civil War. Paul grieved because he never got to pass these things from his father on to

his son.




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       On the day the Woollett family was notified of the death of their son, they got a letter from

Beirut from Donald Woollett. The death of Donald introduced Beverly to bitterness. The more she

found out about why they bombed the Marine’s headquarters the madder she got. She believes that

our Country should have bombed all those responsible. And she believes that we have all of these

terrorist attacks today because our government did not act against those that were responsible. “We

had a yellow streak.” Beverly has been bitter about it. Those responsible should have had to pay

with blood. It may sound terrible but she believes that “our government made a terrible mistake by

not hitting them hard.”

       Both the Woollett daughters were away at college, and her son’s fiancé was living with Paul

and Beverly Woollett. The first thing Paul and Beverly Woollett did was drive to their daughter’s

schools and told them of the news. They brought their daughters back home. Donald Woollett

requested his family to honor him and if anything happened to him they were not to talk to the

press or disparage the country. The Woollett house was swamped with reporters and people and

reporters were banging on the front door. Beverly honored her son’s request and simply gave the

reporters his obituary information; she did not let the reporters into the house. She could not handle

the situation; she had not slept in weeks because she believed the situation in Beirut was a disaster

waiting to happen. They had received a letter from Donald telling them about one of his best

friends that had been shot by a sniper; he had a little baby at home. Donald thought it was sad that

someone with a baby had been shot.

       Beverly Woollett knew that no one would want to visit them with a gloomy mother and

father. The entire family testified that the birth of the first grandchild, Elizabeth, forced Beverly

Woollett to step forward and assist with the rest of the Woollett family. Lilla decided that she was

going to have a baby boy to replace Donald. Lyda tried to tell her sister that that was not




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reasonable. Elizabeth was born premature; she weighed only three pounds. Lyda and Beverly took

turns caring for the baby so that Lilla could continue in Veterinary school. Beverly would not have

survived if it had not been for caring for the baby. Lilla could not bare the loss of her brother, she

flipped out, and she could not handle the loss. Lyda Woollett Guz testified that her mother

confided in her recently that she was just coming out of her depression and she felt she could now

experience joy, some 21 years after the death of her son.

       Lilla developed a tradition of celebrating Donald’s birthday by giving the children books.

This started because a school counselor told her that her daughter, Elizabeth, was affected by the

sadness in the household and the grieving and crying over the loss of Donald. She needed to

develop some “happy traditions.” Donald was a lover of books. He would smell the print. To this

day they still celebrate Donald’s birthday with this giving of books.

       Beverly has participated in several of the reunions in Jacksonville, North Carolina. There is

a beautiful sculpture there that is like an outdoor chapel. It is a beautiful memorial near Camp

LeJune.

       Beverly Woollett is bitter and has written letters to the editor on her views. She believes

that the persons who caused her son’s death should pay in blood. She testified that the death of her

son introduced her to bitterness and she believes the responsible parties are wicked. They had no

reason to kill those boys. They were not there to wage war; they did not even have their guns

loaded. We did not want their “stinking” country; we were there on a peacekeeping mission.

“They will pay when they meet God.” Even though it has been 21 years they have not gotten over

it. You avert your eyes from picture and try to distract yourself but you never get over losing

someone.




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       LYDA WOOLLETT GUZ was born November 22, 1960 and is the sister of Donald E.

Woollett (Deceased). Lyda Guz is married and lives in Austin, Texas and does not have any

children. Lyda Guz described her brother in beautiful detail and remembers him as a great

communicator who had a wonderful relationship with her mother and his sisters. Donald Woollett

was her older brother and he loved and welcomed his little sisters. She remembers her brother

staying up late with her and planning their future. They planned to live together, and later, after his

fiancé was introduced to the family, they lived near the family. Lyda and Donald planned to live

close together and start their careers together. Lyda Guz credits her relationship with her brother as

teaching her that men are emotional creatures and he taught her a lot about relationships. She

credits her brother with her ability to have relationships with everyone.           She talked about

everything with her brother and he went through the yearbook and pointed out the problem boys to

her based upon what he learned from the “locker room talk.” Lyda recounted how her brother,

Donald, stood up for her and her sister in school. She testified that her brother and sister were

different but in another way, all the same. They had a loving relationship and it troubles her to see

other families that do not have that kind of relationship.

       Lyda Guz recognizes that her relationship with her brother was different than her sister’s

relationship with him. Lyda was the artistic person and she is not a competitive person. Lyda Guz

testified how her brother loved to debate her and how she learned to get him mad by stopping the

debate. At a certain point Lyda realized that was a waste of time. Donald was a very high

achiever. He was an “A” student and excelled in history. He made it look so easy. He was not an

athlete but he had great team spirit. He was amazing.

       Lyda Guz testified that her brother and mother were soul mates and that she heard her

mother say “he was the purpose of her being put on earth.” There was a unique connection




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between her mother and her first-born son. Her mother wrote her brother everyday, or contributed

to a letter everyday, for years because she didn’t want him to miss anything that happened in the

Woollett family life. There was an intimacy in their communication that no one will ever know

except them. Lyda’s mother wrote a letter to the editor of the newspaper after the death of her son

wherein she shared some of the depth of her feelings. Everyone on the family grieved differently.

Her mother cried every time she took a shower. Her father confided in her that he did not know

what to do about her mother’s grief and it was pulling them apart. Her father did not understand

and he would leave the room when she was crying but that was not what she needed. Some years

later Lyda moved back close to home and spent time talking with her parents and she learned some

of what they were feeling. It was valuable to her parents to have another person help them express

their feelings about the loss of their precious son. Her mother just lately expressed that some 21

years later she is coming out of her depression and she is able to feel joy in her life. This was a

very long-term depression. “You are never the same, you do not want to be the same.” Her mother

was locked in the same position for many years after her brother was killed.

       Donald Woollett’s fiancé was living with her parents at the time of Donald’s death. It made

it harder for her parents. At some point while she was living in the Woollett’s home she started

dating and it was hard for her parent’s to accept that she would not be marrying their son. It was a

real test for her mother. They are very close to this day.

       Lyda saw her brother for the last time in 1982. The family expected him to be home for

Christmas in 1983 and he was killed in October 1983. The song “I’ll be home for Christmas” has

always been horrific for her and everyone in her family.

       On October 23, 1983 Lyda was working on the yearbook. It was fall break but Lyda stayed

on campus to work on the yearbook at Oklahoma State University. The yearbook was part of the




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university newspaper and through her work there she had access to the wire services and heard

about the bombing in Beirut but nothing more was released at the time because they were in the

process of notifying families.   Lyda went back to the dorm common area and watched the

television coverage. Lyda had the bombing on her mind but didn’t think it was a problem. She felt

that their family life was so good that nothing would happen to her brother.            One night,

approximately five days later, about midnight, she was in the yearbook office and she had a feeling

of extreme panic. She was checking the wire service sources but still had not heard anything about

her brother and she was getting desperate. She returned to her dorm room, didn’t lock the door,

wrapped herself in a robe over her clothes and cradled a phone on her chest and laid on top of her

bed just as her parent walked in and told her of her brother’s death. Her parents had just been told

by the military that her brother had been killed. She believes that the energy she felt when she

panicked was right when her parents had been told of her brother’s death. She has always felt that

the nightmares that her mother had at the time of the bombing were the vision of what her brother

saw when he was killed. They got in the car and drove the two hours to where her sister was in

college.

       Lyda Guz admits she was naïve about what was going on in Beirut at the time; she was not

taking it seriously. She didn’t think anyone would hurt the Marines. Her brother wrote her long

letters and was a great storyteller. Her brother sent her checks from time to time, even when he

was in Beirut, and would tell her to “go do something fun.” She testified that she told her brother

that she had spent the money on eyeglasses and he sent her another check saying: “that was not

what I had in mind.”   He was a good brother. He thought of everyone in his will.

       Lyda Guz testified that the premature birth of her niece, Elizabeth, called her mother into

action, and Lyda and her mother immediately helped Lilla care for her infant. Elizabeth weighed




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only 3 pounds at birth and needed constant care and almost hourly feeding. Lilla told her sister that

the baby would make the family happier again and in some way replace their brother Donald. It

was an impractical time in her sister’s life for a baby but when it became an option she let it

happen.

       Lyda Guz has decided that she is never going to have children. Her mother and father have

testified that her decision relates to her brother’s killing. She does not want to be responsible for

someone else’s life. Lyda Guz testified that she was not going to have children; she doesn’t want

her children or her family to suffer.

       Lyda Guz understands that death is part of living and she is grateful that her brother was a

part of her life and she believes her brother is a part of her personality today. The death of her

brother was a shock. She was naïve and did not realize that he was at risk. If she had not shared

the 23 years she had with her brother she would have been a different person; she would not be as

calm as she is, she would not have had the gift of empathy, and her ability to understand people.

Lyda Guz grieves for all the mothers of sons who have been killed, of all cultures, and she feels she

understands their pain. Lyda grieves for all the craziness that goes on between the world cultures.

She grieves for all the death that occurs. She wishes we could “figure it all out.”

       Lyda was married in 1989 and wishes her husband could have known her brother Don, they

are very similar. Her husband knew how close Lyda and her brother were. Her husband knows

how Donald death affected Lyda because he has seen her grieve at various times throughout the

years. Five years ago she visited her brother’s grave for the first time since the funeral. She did go

to the 20th year memorial in Jacksonville, North Carolina, where she met survivors that knew her

brother. Lyda Guz recognized that every member of the Woollett family grieved differently and

testified that she withdrew to herself and moved from the area and admitted to being depressed.




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She knew it was depression but she did not fight it; she knew that it was okay. Even when she was

going through the initial grieve she remembers telling herself “I am going into a dark tunnel right

now and someday I will come out on the other end. I’ll come out a different person but it is okay.”

       LILLA WOOLLETT ABBEY was born on May 11, 1962 and she is the sister of Donald

Elberan Woollett (Deceased). Lilla Abbey has been married twice and has four children and lives

near her parents in Oklahoma.

       Lilla is a veterinarian but is not practicing at this time. She graduated from Oklahoma State

University.

       Lilla Abbey remembers her brother as a loving and good person who she worshiped. She

testified that he was a source of love in the Woollett family who listened to his sisters. Donald was

her best friend and they adored each other. He was an incredible person. He set a tone of love in

their family because of how he loved her and her sister. All the Woollett’s testified that Donald

Woollett took his sisters everywhere, he never told her to go away. Lilla Abbey testified that she

has fond memories of hikes with her brother, they identified plants together, and they planted trees

as a project for Boy Scouts.    He taught her how to swim and they worked on his various Scout

projects together. They had an incredibly close relationship. Lilla Abbey recalls helping her

brother deliver newspapers and helping him out when he was busy. She remembers him as being

patriotic, had flag’s in his bedroom and had red, white and blue curtains. Lilla graduated from high

school the same year her brother graduated from the United States Naval Academy. The family

lived in Ohio but their family roots were in Texas and they took family vacations and all three

children shared the back seat on trips to Texas to visit their family, “just like a pile of happy

puppies.”




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       Donald was Valedictorian of his high school class. Whatever he did he became completely

absorbed in it. He worked hard for what he wanted; things did not come easy for him. She and

Donald both loved science and they formed a science club together. He would read to her from old

science books even before she was old enough to comprehend it. They did chemistry experiments

together with an old chemistry kit in the basement. He was a good student. He loved history; he

was passionate about it.

       Donald loved the sea and the Navel Academy was a natural progression for him. He loved

the ocean. The military seemed like a natural for him. He was so excited when he got accepted

into the Navel Academy. She attended the graduation, they were really proud of him. The whole

family attended, even their grandmother.

       Lilla Abbey and her brother wrote each other weekly, and she recalls his letters as exciting

and fun. He loved being an officer and the men serving under him thought he was the best

commanding officer they ever had. Donald would call when he could. Lilla Abbey has told her

children about her brother and notes her oldest son is interested in history. She feels her daughter

Elizabeth has a connection with her brother.

       Lilla Abbey testified her mother has saved her sons things and she has pictures of her

children playing with his toys and clothes. Lilla was first married in 1982. Donald received special

permission to attend the wedding. She recalls going out with her brother and friends on the eve of

the wedding and her brother falling asleep with his head on her lap. She last saw her brother at the

family Christmas celebration in 1982 with his girlfriend/fiancé. It was a typical family Christmas.

It was a great family gathering, everyone laughing and having fun.

       In May 1982, Donald E. Woollett was deployed to Beirut and Lilla testified she knew a

little about the situation. It was on her birthday. Her brother’s letters told her that it was a




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worthwhile cause to try to settle things peacefully. Today, when she thinks about those days, it

brings back difficult memories. She avoids anything concerning the Middle East. Lilla testified

that she has tried to understand the Middle East and has made the effort to check out books from

the library on the Middle East but cannot bring herself to read them. Every terrorist attack brings

back memories of her brother. She received a letter from her brother which was delivered after the

bombing. It was very painful to read the letter. In the letter he told her to tell their mom not to

worry. He wanted his mother to be at ease. Donald Woollett confided to his sister that he felt

guilty because he was in such a safe building while people were out in foxholes with snipers

shooting them.

       In October 1983, Lilla was living in Norman, Oklahoma, with her first husband who was a

medical student. She turned on the radio and heard about the bombing but she thought her brother

was probably okay. She prayed. She tried to convince herself that he survived and that he was so

busy with the situation that he did not have a chance to call and tell them he was okay. Lilla

testified that she tried to keep going, but she recalls calling a special information line over and over

seeking information on her brother. Because of these repeated phone calls she thinks the staff

thought she was nuts because she just would not stop calling. She wanted to hear his name on the

list of people who had checked in and were okay. They could only tell her that he was listed as

missing. Then she opened her door and saw her parents standing there and she knew he was dead.

She just could not believe it. And she then went home with her parents. It was the first time in her

life she had ever seen her dad cry. It broke her heart. They all go on but they are not okay. They

function but they are heartbroken. She thought her brother’s death would kill her mother. She

watched her stop eating and get thinner and thinner. She thought she was going to die. Her father,

a man that used to stand tall, became all bent over and broken.




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          Lilla was afraid to go back to school. She felt she had to stay home to make sure her

mother ate. And then she did go back to school and continued with the classes she needed for

veterinary school. She never completed her Baccalaureate degree and she applied to veterinary

school. She broke it down to the bare essentials she had to have to be admitted into veterinary

school.

          She recalls the memorial service, funeral and closed casket. Lilla recalls many people at

both services but is unable to remember faces. She testified that that was the only time she saw her

father cry.

          The funeral was at Arlington National Cemetery. It was a full military funeral with the

caissons carrying the casket. It rained. They were totally stunned. For the longest time she

pretended that her brother was on a secret mission and could not contact them. She remembers

very little about the memorial service. There were many people but she does not remember faces.

          Her sister Lyda withdrew and pulled herself together and did not talk about her brother's

death. She finished school and moved away. She could only handle it by separating herself. She

distanced herself from the whole family. She visits briefly each year for a few days and that is her

only contact. Lilla had the opposite reaction. She stayed close to home for the family. She has the

only grandchildren and thought she should be near her parents.

          Lilla Abbey testified that she reacted in an entirely different manner than her sister. After

her brother died, Lilla wanted to create a new life; she stopped birth control and became pregnant.

Beverly Woollett testified that she thought Lilla Abbey was loosing her mind and she spoke to her

daughter about her plans. Lilla Abbey knew that getting pregnant while she was going to

professional school was the wrong thing to do but she believed bringing a new life into the

Woollett family was critical to the family. She gave birth to Elizabeth in August 1984, two months




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early, her daughter weighted only three pounds. Elizabeth never would have been born if her

brother had lived. Elizabeth needed constant care and feeding and the birth of her first grandchild

brought Beverly Woollett back to reality and may have saved her mother’s life. Caring for

Elizabeth gave her parents something to live for.

       Lilla Abbey testified that her family handled grief in different ways, and she recognized that

she stayed in the area to be with her parents and share her children with them. Lilla Abbey

recognizes that her sister handled her brother’s death in a different manner.       Lilla’s emotional

support was her parents.

       Lilla Abbey testified that the death of her brother contributed to her divorce and she

confided that she knew she was no longer emotionally available to her husband. Prior to the

divorce they went to marriage counseling and the counselor gave the opinion that Lilla had not

addressed her grief. The counselor advised Lilla to seek help. She never did seek counseling.

       Lilla testified that each year on her brother's birthday she is depressed and she recalls that

when her daughter Elizabeth was in 2nd grade, her teacher asked why she was sad and Elizabeth

told her teacher because her mother was sad because her brother was killed. Elizabeth spoke to the

school counselor. The school counselor sent a note home asking for a meeting and the counselor

recommended something positive be done on Donald’s birthday so that Elizabeth would not be

overwhelmed by the sadness. The family now has a birthday party and Lilla gives each of her

children one or two books which she thinks her brother would have given them. Even though there

is sadness in the loss of her brother they try to emphasize the joy because they had him in their life

for a while.

       In 1991 Lilla remarried. Her new husband is a counselor. She doesn’t expect to ever get

over the loss and she feels cheated. Every Christmas she recalls how her brother decorated the




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Christmas tree. If he got home on December 26th the tree was decorated on December 26th. She

knows he would have had his own family. Lilla’s new husband has accepted her sadness and told

her it is okay to grieve. He has given her permission “not to get over it.” Lilla knows now that it is

okay to be sad.

       Lilla Abbey testified that Donald E. Woollett was a good man who would have done great

things and he loved people, she feels we have been “ripped off” by his killing. She has told her

children all about their uncle. She tells them when she feels her brother would have been proud of

what they accomplished. She feels her children have been cheated by not knowing their uncle.

Lilla has told her daughter Elizabeth that she saved her grandmothers life.            Her daughter

understands the connection with her uncle. Beverly Woollett has many of Donald’s things around

her home and the children have grown up around those things. They have all played with his old

treasures. The world was cheated out of a good man. Her brother probably would have been a

senator or a congressman by now. He loved this country and he loved people.

       Lilla attended the 20th anniversary memorial. It was extremely sad. It was difficult to be

around all those people who have suffered such loss. Several men that served under her brother

talked with her. They felt lucky to have served under him. She is glad that she went to the

memorial and she will try to attend the 25th year memorial.

       Lilla would want to tell the Iranian leaders: How could you? He was there just trying to

keep peace and not trying to hurt anyone. How could you do that? Her uncontrolled sobbing

shows the depth of her pain to this day.



                                    CONCLUSIONS OF LAW

       (1) Wrongful Death.




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       The Plaintiffs produced comprehensive testimony from Dr. Jerome Paige detailing the loss

of accretions to the estate of each person. These calculations are conservative and the amounts set

forth in the report have been established without question. The Special Master concludes as a

matter of law that judgment should be entered for this element of damages for the Estate of Donald

Elberan Woollett in the amount of $2,021,565.00.

       (2) Survival Action – Pain And Suffering.

       There is no evidence from which it could be concluded that the decedent endured bodily

pain and suffering after the attack and prior to his death.

       (3) Solatium.

       The Foreign Sovereign Immunities Act provides for an award for solatium consisting of

emotional injury inflicted upon persons other than the decedent by the actions of the defendants

and/or their agents. As the Court noted in the Flatow case, id., this is an item of damages which

belongs to the individual heir personally for injury to the feelings and loss of decedent’s comfort

and society. The unexpected quality of a death may be taken into consideration in gauging the

emotional impact to those left behind. In this case the impact upon the parents and siblings was

devastating. The Special Master concludes as a matter of law that the following amounts are

appropriate compensation for this element of damages: Paul Woollett (Father) - $15,000,000.00;

Beverly Woollett (mother) - $15,000,000.00; Lilla Woollett Abbey (sister) - $10,000,000.00; and

Lyda Woollett Guz (sister) - $10,000,000.00



Date: June 6, 2006


                                                              ________________________________
                                                              Loraine A. Ray,
                                                              Special Master



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